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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS


United States of America,

                     Plaintiff,                        Case No. 3:11CR30142-003-DRH

       v.

Steven Folan,

                Defendant,
====================================
Wells Fargo,

       Garnishee.



                                           ORDER

       Upon motion of the United States of America (Doc 123), pursuant to Rule 41(a)(2), Federal

Rules of Civil Procedure, and for good cause shown, it is hereby ORDERED the Garnishment in

this cause be and the same is hereby DISMISSED.



IT IS SO ORDERED.

                                                                         Digitally signed by
DATED: August 8, 2012                                                    David R. Herndon
                                                                         Date: 2012.08.08
                                                                         17:27:51 -05'00'
                                                   Chief Judge
                                                   United States District Court
